      Case 2:21-cv-02213-SRB Document 13 Filed 03/03/22 Page 1 of 4




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 9
10                         UNITED STATES DISTRICT COURT

11                               DISTRICT OF ARIZONA

12
13
     Cox Airparts LLC, a Kansas limited            Case No.: CV-21-2213-PHX-SRB
14   liability company;
15                                                 Status Report

16            Plaintiff,

17                                                 Honorable Susan R Bolton
      v.
18
19   Bruce Brown, in his individual capacity
     d/b/a Arizona Aircraft Accessories; Kevin
20   Brown, in his individual capacity, d/b/a
21   Arizona Aircraft Accessories; Arizona
22   Aircraft Accessories LLC, Michael Polve,
     in his individual capacity, and MJP
23
     Services, LLC, an Arizona Limited
24   Liability Company; Warrior Enterprises,
25   Inc.,

26             Defendants.
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28



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       Case 2:21-cv-02213-SRB Document 13 Filed 03/03/22 Page 2 of 4




 1          Plaintiff Cox Airparts, LLC, (“Plaintiff” or “Cox Airparts”) responds to the
 2   Court Order (DOC08) requiring a status report of the case.
 3
 4   Defendants Bruce Brown and Warrior Enterprises, Inc.
 5          Plaintiff moved for Entry of Default as to Defendants Bruce Brown and
 6   Warrior Enterprises, Inc. (DOC09) on February 24, 2022, and the Clerk entered the
 7   default of both defendants on February 25, 2022 (DOC010). On February 25, 2022,
 8   Bruce Brown called Plaintiff’s counsel and informed him that he had retained counsel
 9   and would be filing for bankruptcy, however, Bruce Brown’s counsel has not yet
10   contacted Plaintiff’s counsel.
11
12   Defendants Kevin Brown, AAA LLC, Michael Polve, and MJP Services, Inc.
13          Defendants Kevin Brown, Arizona Aircraft Accessories (AAA), LLC, Michael
14   Polve, and MJP Services, Inc., were served by First Class U.S. Mail on March 2,
15   2022, as authorized by the Court in its order filed March 1, 2022 (DOC 011). A
16   Notice of Evidence of Mailing has been filed with the Court (DOC 012). Plaintiff
17   also served AAA, LLC, on February 25, 2022, by depositing two copies of the
18   summons, Complaint, and Declaration of Richard Cox in support of the Complaint as
19   allowed under Ariz. R. Civ. P. 4.1.
20
21   Possible Default Judgment against Bruce Brown and Warrior Enterprises, Inc.,
22   Plaintiff suggests that a motion for default judgment against defaulted Defendants
23   Bruce Brown and Warrior Enterprises, Inc., may be premature as a default against
24   said defendants may be impacted depending on the action of the remaining
25   defendants, which for the time being remain unresolved. Plaintiff’s Complaint alleges
26   the Defendants acted jointly and severally to breach, or as the litigation pertains to
27   Defendants Michael Polve and MJP Services, Inc., acted to aid the Brown Defendants
28   in the breach of, several agreements between the parties. Accordingly, it is possible



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       Case 2:21-cv-02213-SRB Document 13 Filed 03/03/22 Page 3 of 4




 1   that any one or more of Defendants Kevin Brown, AAA, LLC, Michael Polve, and/or
 2   MJP Services, LLC, may appear and file a responsive pleading including defenses or
 3   counterclaims that may affect the liability of defaulted Defendant Bruce Brown or the
 4   measure of damages for which he is responsible. Accordingly, Plaintiff suggests that
 5   there is just reason for delaying the filing of a motion for default judgment against
 6   Bruce Brown, at least until the time to file a responsive pleading by Defendants Kevin
 7   Brown and Michael Polve expires.
 8
 9                                                     Dated March 3, 2022
10
11                                                     Venjuris, P.C.

12                                                By /s/ Michael F. Campillo
                                                     Michael Campillo (AZ Bar 019014)
13                                                   1938 East Osborn Road
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16                                                   Attorneys for Plaintiff

17
18                                CERTIFICATE OF SERVICE
            I hereby certify that on March 3, 2022, I electronically transmitted the attached
19
            document to the Clerk’s Office using the CM/ECF System for filing and
20          transmittal of a Notice of Electronic Filing to the following CM/ECF
            registrants:
21
22                     Name                                    Email Address
23
24
            I hereby certify that on March 3, 2022, I served the attached document by First
25          Class U.S. Mail or email on the following, who are not registered participants
            of the CM/ECF System:
26
27                     Name                              Physical or Email Address
28    Bruce Brown                                 1917 S Sabrina, Mesa AZ 85209



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      Case 2:21-cv-02213-SRB Document 13 Filed 03/03/22 Page 4 of 4




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 3    Arizona Aircraft Accessories, LLC      kevin@azaircraftparts.com
      Michael Polve, individually and for    11261 E Stearn Ave, Mesa AZ 85212
 4    MJP Services, LLC                      michaelpolve@hotmail.com
 5
     s/ Michael F. Campillo
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